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1                               UNITED STATES DISTRICT COURT

2                                      DISTRICT OF NEVADA

3                                                  ***

4     DOREEN BROWN,                                       Case No. 3:21-CV-0344-MMD-CLB
5                                          Plaintiff,    ORDER GRANTING APPLICATIONS
                                                         TO PROCEED IN FORMA PAUPERIS
6            v.
                                                                [ECF Nos. 1, 2, 3, 4, 5]
7     DEB HAALAND, Secretary of the U.S.
      Department of Interior, et al.,
8
                                       Defendants.
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10
            Plaintiffs Doreen Brown, Louella Stanton, Eldon Brown, Elena Loya, and Gilbert
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     George (“Plaintiffs”) have filed applications to proceed in forma pauperis in this action.
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     In the applications, Plaintiffs each listed minimal income and assets (ECF Nos. 1, 2, 3,
13
     4, 5). For good cause appearing, Plaintiffs’ requests to proceed in forma pauperis are
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     GRANTED. (Id.)
15
            The movants herein are permitted to maintain this action to conclusion without the
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     necessity of prepayment of fees or costs or the giving of security therefor. This order
17
     granting in forma pauperis status shall not extend to the issuance of subpoenas at
18
     government expense.
19
            IT IS FURTHER ORDERED that the Clerk of the Court shall issue summonses to
20
     the following:
21
            1.        Deb Haaland, Secretary of the Department of the Interior;
22
            2.        United States of America; and
23
            3.        Winnemucca Indian Colony
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            The Clerk shall deliver the summonses and sufficient copies of the complaint,
25
     (ECF No. 6), to the U.S. Marshal for service. The Clerk shall send Plaintiffs’ counsel
26
     sufficient copies of service of process forms (USM-285) for each Defendant. Plaintiffs
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     shall have twenty (20) days in which to return to the required forms USM-285 to the U.S.
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     Case 3:21-cv-00344-MMD-CLB Document 30 Filed 11/22/21 Page 2 of 2




1    Marshal at 400 S. Virginia Street, 2nd Floor, Reno, Nevada 89501.

2                  November 22, 2021
           DATED: ______________.

3                                           UNITED STATES MAGISTRATE JUDGE
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